        Case 4:20-cv-05065-SAB    ECF No. 11    filed 10/20/20   PageID.31 Page 1 of 2



 1                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
 2                                                               EASTERN DISTRICT OF WASHINGTON



 3                                                                Oct 20, 2020
 4
                                                                      SEAN F. MCAVOY, CLERK




 5
 6                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 7
     KIMSAN SONG,
 8                                                  No. 4:20-CV-05065-SAB
 9               Plaintiff,
10               v.                                 ORDER OF DISMISSAL
11
     I.C. SYSTEM, INC.,
12
                 Defendant.
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14
15         Before the Court is the parties’ Stipulated Motion and Order to Dismiss Case
16 with Prejudice. The parties stipulate and request the Court dismiss this matter with
17 prejudice, and without costs or attorney’s fees to either party. Pursuant to Fed. R.
18 Civ. P. 41(a)(1)(A)(ii) and the joint wishes of the parties, the Court finds good
19 cause to accept the stipulation, enter it into the record, and dismiss this case.
20         Accordingly, IT IS HEREBY ORDERED:
21         1. The parties’ Stipulated Motion to Dismiss and Proposed Order, ECF No.
22 10, is GRANTED.
23         2. This matter is DISMISSED with prejudice and without costs or attorney
24 fees to any party.
25         3. Any pending motions are dismissed as moot.
26 //
27 //
28 //


     ORDER OF DISMISSAL * 1
      Case 4:20-cv-05065-SAB    ECF No. 11    filed 10/20/20   PageID.32 Page 2 of 2



1        4. The trial date and any remaining pretrial deadlines are stricken.
2        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
3 this Order, provide copies to counsel, and close the file.
4        DATED this 20th day of October 2020.
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                                                    Stanley A. Bastian
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                                             Chief United States District Judge
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     ORDER OF DISMISSAL * 2
